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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

In re:
160 Royal Palm, LLC, Case No. 18-19441-EPK

Debtor. Chapter 11
/

NOTICE OF FILING EXECUTED LIQUIDATING TRUST AGREEMENT
160 Royal Palm, LLC, by and through its undersigned counsel, hereby files the attached
executed Liquidating Trustee Agreement.
Respectfully Submitted,

SHRAIBERG, LANDAU & PAGE, P.A.
Attorneys for 160 Royal Palm

2385 NW Executive Center Drive, Suite 300
Boca Raton, Florida 33431

Telephone: 561-443-0800

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Email: ependergraft@slp.law

By: /s/ Eric Pendergraft

Eric Pendergraft, Esq.
Florida Bar No. 91927

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ATTORNEY CERTIFICATION
I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court
for the Southern District of Florida, and I am in compliance with the additional qualifications to

practice in this Court as set forth in Local Rule 2090-1(A).
CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via

Notice of Electronic Filing to those parties registered to receive electronic noticing in this case

on February 13, 2020.

By: /s/ Eric Pendergraft

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LIQUIDATING TRUST AGREEMENT
THIS LIQUIDATING TRUST AGREEMENT (“Agreement”), dated as of this 13th day of
February, 2020, is by and among 160 Royal Palm, LLC, as a debtor and debtor-in-possession (the
“Debtor”) and Cary Glickstein, individually, the liquidating trustee (the “Liquidating Trustee”)
appointed under and pursuant to the Debtor’s Third Amended Plan of Liquidation Pursuant to
Chapter I1 of the Bankruptcy Code (the “Plan’”) dated, as may be amended by the Order
Confirming Debtors’ Third Amended Plan of Liquidation and Establishing’ Deadline to File
Claims for Rejection Damages [ECF No. 1564] dated February 11, 2020, (collectively the Plan

and Confirmation Order shall hereinafter be referred to as the “Plan.”).

WITNESSETH:

WHEREAS, the Debtor filed a voluntary relief under chapter 11 of title 11, United States
Code (the “Bankruptey Code”) in a bankruptcy case (Case No. 18-19441-EPK) (the
“Bankruptcy Case’) in the United States Bankruptcy Court for the Southern District of Florida
(the “Bankruptcy Court’), and the Debtor’s Plan has been confirmed;

WHEREAS, the Bankruptcy Court has approved the Plan under Chapter 11 of the
Bankruptcy Code to provide for the creation of a liquidating trust, as described herein, and the
transfer of assets as described herein;

WHEREAS, the Plan provides for the creation of a grantor trust for the benefit of the
Liquidating Trust Beneficiaries (as defined herein) under and pursuant to the terms of the Plan;

WHEREAS, this Agreement is executed by the parties hereto in order to establish a
liquidating trust, which trust is to be known as the “160 Royal Palm Liquidating Trust” (the
“Liquidating Trust”), in accordance with Treasury Regulation Section 301.7701-4(d), whose

primary purpose is to provide a mechanism for the liquidation of the assets of the Estate,!

 

' Capitalized terms not defined herein shall have the definitions provided for in the Plan or Confirmation Order.
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and to distribute the proceeds of the liquidation, net of all claims, expenses, charges, liabilities,
and obligations of the Liquidating Trust, to the Liquidating Trust Beneficiaries in accordance with
the terms of the Plan, and not to continue or engage in the conduct of any trade or business,
except to the extent necessary to accomplish the liquidation of assets of the Estate (as defined
herein);

WHEREAS, the corpus of the Liquidating Trust and all income earned thereon remaining
after the satisfaction of all trust expenses and liabilities shall be used solely for the purpose of
discharging the legal obligations of the Debtor;

WHEREAS, the parties to this Agreement desire that the Liquidating Trust created
pursuant to this Agreement qualify as a liquidating trust in accordance with Treasury Regulation
Section 301.7701-4(d) and that on qualification, the Liquidating Trust shall be taxed as a “grantor
trust” under and in accordance with the relevant provisions of the Internal Revenue Code of 1986,
as amended (the “Internal Revenue Code” or “I.R.C.”) and the Treasury Regulations pertaining
thereto, except as otherwise provided for United States federal income tax purposes in the event
that (i) any portion of this Liquidating Trust is treated as a “qualified settlement fund” pursuant to
Section 1.468B-1 of the Treasury Regulations, or (ii) the Liquidating Trustee timely elects to treat
any Liquidating Trust Assets allocable to the Disputed Claims/Equity Interests Fund as a

“disputed ownership fund” pursuant to Section 1.468B-9(c)(2)(ii) of the Treasury Regulations.

NOW, THEREFORE, in consideration of the premises and other valuable consideration,
the receipt and sufficiency of which is hereby acknowledged, and subject to the terms and
conditions of this Agreement and the Plan, the Debtor and the Liquidating Trustee have executed
this Agreement for the sole benefit of the Liquidating Trust Beneficiaries and no other party as

follows:

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ARTICLE I GRANT, ACCEPTANCE, NAME, AND DEFINITIONS

1.1 Grant. (i) Other than money already distributed to holders of Allowed Claims directly
by the Debtor or, in the Debtor’s discretion, money that soon will be distributed directly by the
Debtor pursuant to the Plan, the Debtor hereby grants, assigns, transfers, conveys, delivers,
delegates and sets over the Assets (as defined herein) to the Liquidating Trustee to be held in trust
for the benefit of the Liquidating Trust Beneficiaries and subject to the terms and provisions set out
below and in the Plan. Additionally, the Estate irrevocably grants, assigns, transfers, conveys,
delivers, delegates and sets over to the Liquidating Trustee all of the authority, rights, powers and
duties previously vested in the Debtor under the Bankruptcy Code or applicable nonbankruptcy
law, including, without limitation, the power to bring, defend or settle all claims, charges and
litigation to which the Estate is or hereafter may become subject. To the extent that any law,
regulation or contractual provision prohibits the transfer of ownership of any of the Assets from the
Estate to the Liquidating Trust or the Liquidating Trustee, or if for any reason the Estate shall
retain or receive at any point any property which is included in, or intended under the Plan and this
Agreement to be included in, the definition of Assets, then the Estate shall and is hereby deemed to
hold such property (and any proceeds or products thereof) in trust for the Liquidating Trust
Beneficiaries of the Liquidating Trust and shall promptly notify the Liquidating Trustee of the
existence of such property and shall promptly take such actions with respect to such property as the
Liquidating Trustee shall direct in writing. It is intended that the Assets transferred pursuant to this
Section 1.1 shall provide the Liquidating Trust Beneficiaries with distributions on account of their
Allowed Claims pursuant to and in accordance with the Plan.

(ii) This transfer will be treated for federal income tax purposes as a deemed transfer
by the Debtor to the Beneficiaries followed by a deemed transfer by the Beneficiaries to the Trust,

in accordance with Revenue Procedure 94-45, 1994-2 C.B. 684. The taxation of the deemed

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transfers from the Debtor to the Beneficiaries will be treated as if the Debtor distributed the Assets
to the Beneficiaries in liquidation of their interests in the Debtor under IRC §§731 and 736.

(iii) The Liquidating Trustee hereby accepts the Assets and the Liquidating Trust
created hereunder, subject to the terms and provisions set out below and, in the Plan, on behalf of
and for the benefit of the Liquidating Trust Beneficiaries.

1.2. Name. The trust created pursuant to the terms hereof shall be known as the
“160 Royal Palm Liquidating Trust” and shall be referred to herein as the “Liquidating Trust.”

1.3 Certain Terms Defined. For all purposes of this Agreement, the capitalized terms
used herein shall have the following meanings:

(i) “Agreement” shall mean this Liquidating Trust Agreement as originally executed
and as it may from time to time be amended pursuant to the terms hereof;

(11) “Assets” or “Liquidating Trust Assets” means all Assets of the Estate, which
Liquidating Trust Assets are proposed to be transferred to and vested in the Liquidating Trust
under and in accordance with the terms of the Plan on the Effective Date. Liquidating Trust Assets
shall include all property and belongings of the Debtor not previously sold to Purchaser, including
all property as may have been created by virtue of the Bankruptcy Code, and expressly includes
all Post Confirmation Debtor Assets, all other unencumbered property of the Debtor, all property
of the Committees in this Chapter 11 Case, as well as all other Causes of Action, all Litigation
Claims, and the rights to prosecute, enforce and settle same;

(iii) “Alternate” shall have the meaning set forth in Section 12.2 of this Agreement;

(iv) “Disputed Claims Fund” as soon as practicable following the entry of the
Confirmation Order, the Liquidating Trustee shall establish the Disputed Claims Fund. The
Liquidating Trustee shall be responsible for making the Distributions to the Holders of Allowed

Claims pursuant to the terms of the Plan, provided that the Disputed Claims Fund, if applicable,

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is maintained and includes sufficient funds to pay and reserve for accruing interest on Disputed
Claims, and potential fees, costs, penalties or other charges against the Estate that could be incurred
in connection with the allowance of a Disputed Claim to the extent permitted in such contract
by and between the Debtor and Holder of the Disputed Claim. Claims estimated by the
Bankruptcy Court at $0 for all purposes in the Bankruptcy Case are disallowed in their entirety,
are not Disputed Claims, and are not entitled to any distributions under the Plan.

(v) “Distribution Record Date” means a date selected by the Liguidating Trustee
preceding each distribution date (other than the initial distribution date), as the record date for
determining the holders of Allowed Claims entitled to participate in the distribution on such
distribution date;

(vi) “Effective Date” shall be described in the Confirmation Order and shall be the
date upon which the last of the conditions precedent to the occurrence of the Effective Date set
forth in Section 9.1 of the Plan occurs.

(vii) “Estate” means the bankruptcy estate of the Debtor;

(viii) “Liquidating Trust” shall have the meaning set forth in Section 1.2 hereof;

(ix) “Liquidating Trust Beneficiaries” or “Beneficiaries” means the Holders of
Allowed Claims who have not received complete payment as provided for under the Plan as of
the Effective Date and Holders of any Disputed Claims provided for in the Disputed Claims Fund.
Holders of Claims that have been estimated by the Bankruptcy Court at $0 for all purposes in the
Bankruptcy Case are not Liquidating Trust Beneficiaries.

(x)  “Liquidating Trustee” shall mean, subject to Bankruptcy Court approval, Cary
Glickstein, individually, the Liquidating Trustee named to administer this Liquidating Trust, and
all successor Liquidating Trustees;

(xi) “Liquidating Trust Protected Party” shall mean Cary Glickstein, the Liquidating

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Trustee, and professionals employed by the Debtor, the Liquidating Trustee, or the Liquidating
Trust;

(xii) “Material Action” shall mean any action proposed to be taken, or proposed not
to be taken, by the Liquidating Trustee under the authority vested in him under this Agreement to
the extent such action or inaction could or would have a material effect on the Liquidating Trust,
the Liquidating Trust Assets or the Liquidating Trust Beneficiaries. The Material Actions
shall include, without limitation, (a) the retention or dismissal of professionals by the
Liquidating Trustee, on behalf of the Liquidating Trust, or modification of the terms of any such
retention, (b) any decision regarding abandonment of any Asset with a value the Liquidating
Trustee determines, in his sole discretion, has a value in excess of $100,000, (c) the
prosecution of any Litigation Claims (including the appeal of any adverse judgment entered in
connection therewith), (d) the settlement of any Litigation Claims (including whether the
Liquidating Trustee should seek Bankruptcy Court approval of any such settlement pursuant to
Bankruptcy Rule 9019), (e) the sale of any Litigation Claims, and (f) any transaction in excess of
$100,000 that is not specifically set forth in the Plan. For the avoidance of doubt, any act in
compliance with the terms of the Plan, and entry into any transaction less than $100,000 shall not
be a material action.

(xiii) “Post Confirmation Debtor Assets” shall means all Assets belonging to the
Debtor and Property of the Estate as of the Confirmation, including, without limitation, all Causes
of Action and Litigation Claims.

(xiv) “Sale Proceeds Reserve” as soon as practicable following the entry of the
Confirmation Order, the Liquidating Trustee shall establish the Sale Proceeds Reserve and in the
amount of $1,000,000 from the proceeds received from the sale of certain of its Assets as

approved by the Sale Approval Order, which amount shall be reserved for the payment of allowed

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professional fees and expenses, and any other allowed Post-Confirmation Administrative Claims,
that arise after the Confirmation Hearing, which amounts shall be provided for, and any
remaining amounts will be disbursed as needed for the foregoing claims, fees and expenses,

pursuant to the terms of the Plan and Confirmation Order.

To the extent there exist as of the Effective Date any Disputed Claim, if applicable,
the Liquidating Trustee shall cause Cash to be reserved from any distribution in an amount equal
to the amount or pro rata portion of such distribution to which such Disputed Claim would be
entitled if allowed in the amount asserted by the Holder of such Disputed Claim, inclusive
of potential fees, costs, penalties or other charges against the Estate that could be incurred in
connection with the allowance of a Disputed Claim to the extent permitted in such contract by
and between the Debtor and Holder of the Disputed Claim. If a Disputed Claim is thereafter
allowed, in part or in full, then the Liquidating Trustee shall, from Cash theretofore deposited into
the Disputed Claims Fund distribute to the Holder of any such Claim an amount equal to such
Holder’s payment or pro rata share, based on such Allowed Claim and the terms of the Plan, of all
distributions previously made to Holders of Allowed Claim in the Class of Claim at issue. The
Liquidating Trustee shall hold the balance, if any, of the Cash reserved for such Disputed Claim,
including in the event the Disputed Claim is disallowed in its entirety. Notwithstanding any other
provisions of the Plan, to the extent an Claim Holder is entitled to a partial distribution on account of
its interest, the Claim Holder will receive an undisputed distribution, regardless of the outcome of a
pending objection to its Claim, the Liquidating Trustee, as applicable, may make a partial
distribution of such undisputed portion of such Claim prior to entry of a Final Order on the Claim.

1.4 Other Definitions. All capitalized terms used herein and not otherwise defined herein

shall have the meanings ascribed to them in the Plan.

ARTICLE II NATURE OF TRANSFER

2.1 Purpose _of Liquidating Trust. The Liquidating Trust is created solely to
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implement the terms of the Plan. The primary purposes of the Liquidating Trust are to collect and
liquidate the Assets, pursue those claims and causes of actions transferred to, and vested in, the
Liquidating Trust as Assets and distribute to the Liquidating Trust Beneficiaries all proceeds
from the liquidation of the Assets pursuant to the terms of the Plan. Under no circumstances shall
the Liquidating Trustee have any power to engage in any trade or business or any other activity
except as specifically provided herein or in the Plan or otherwise reasonably necessary and
advisable for the orderly liquidation and distribution of the Assets.

2.2 Representative of the Estate. If and to the extent the conveyance or assignment
of any of the Litigation Claims to the Liquidating Trust would preclude or impair the
prosecution thereof by the Liquidating Trustee under the Bankruptcy Code or otherwise, then the
Liquidating Trust is intended to and shall be deemed to be a “representative of the Estate”
approved to retain and enforce such Litigation Claims pursuant to 11 U.S.C. §§ 1123(b)(3)(A) and
(3)(B).

2.3 Grantor Trust. The Liquidating Trust created by this Agreement is intended: (i) as
a trust governed and construed in all respects as a liquidating trust pursuant to Treasury Regulation
Section 301.7701-4(d) and as a grantor trust in favor of the Liquidating Trust Beneficiaries
pursuant to the relevant provisions of the Code and the Treasury Regulations pertaining thereto;
and (ii) to comply with the requirements of a liquidating trust as set forth in Revenue Procedure
94-45, 1994-2 C.B. 684, except as otherwise provided for United States federal income tax
purposes in the event that (A) any portion of this Liquidating Trust is treated as a “qualified
settlement fund” pursuant to Section 1.468B-1 of the Treasury Regulations, or (B) the Liquidating
Trustee timely elects to treat any Liquidating Trust Assets allocable to the Disputed Claims Fund
as a “disputed ownership fund” pursuant to Section 1.468B-9(c)(2)(ii) of the Treasury Regulations.

Subject to the immediately preceding sentence, the Liquidating Trustee is hereby authorized and

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directed: (i) to take any and all actions necessary to maintain the Liquidating Trust as a liquidating
trust for federal income tax purposes in accordance with Treasury Regulation Section 301.7701-
4(d) and Revenue Procedure 94-45 and as a “grantor trust” under and in accordance with the
relevant provisions of the Code and Treasury Regulations pertaining thereto unless otherwise
required; and (ii) to take any and all actions permitted or required to be taken by the Liquidating
Trustee pursuant to this Agreement and the Plan.

2.4 _—_ Liabilities of the Debtor. The Liquidating Trustee, solely for and on behalf of the
Liquidating Trust, shall utilize all or such part of the Assets as may be necessary to, and shall, pay
any and all Allowed Claims in the Debtor and all Disputed Claims in the Debtor in accordance
with and pursuant to the terms of the Plan.

2.5 Court Approval Not Required. The Liquidating Trustee shall, subject to the
terms of this Trust Agreement or the Plan, be empowered to exercise all rights and powers granted to
the Liquidating Trustee in this Agreement without need of further Bankruptcy Court approval.

ARTICLE II BENEFICIARIES

3.1 Rights of Beneficiaries. Each Liquidating Trust Beneficiary shall be entitled to
participate in the rights and benefits due to a Liquidating Trust Beneficiary hereunder. The interest
of each Beneficiary in the Liquidating Trust is hereby declared and shall be in all respects personal
property of such Beneficiaries and upon the death of an individual Beneficiary, his or her interest
shall pass to his or her legal representative and such death shall not terminate the Liquidating Trust
or otherwise affect the validity of this Agreement. Each Beneficiary shall have the rights with
respect to the Assets as are provided by this Agreement and the Plan. No widower, widow, heir, or
devisee of any person who may be a Beneficiary shall have any right of power, homestead,
inheritance, or partition, or any other right, statutory or otherwise, in any property whatsoever

forming a part of the Assets, but the whole title to all the Assets shall be vested in the Liquidating

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Trustee and the sole interest of the Beneficiaries shall be the rights and benefits given to such
persons under this Agreement.

3.2 Transfer _of Interests_of Beneficiaries. No interest of a Beneficiary may be

 

transferred either by the Beneficiary or by a duly authorized agent or attorney, or by the properly
appointed legal representatives of the Beneficiary except as otherwise provided for by the Plan and
in accordance with Bankruptcy Rule 3001. In the event of any such transfer, the transferee shall
take and hold such interest subject to the terms and provisions of this Trust Agreement and shall
give prompt written notice of such transfer to the Liquidating Trustee. The Liquidating Trustee
shall not be liable to any transferee of an interest of a Beneficiary for any distributions provided for
hereunder unless such transfer is valid under the terms of the Plan and in accordance with
Bankruptcy Rule 3001 and until the Liquidating Trustee receives written notice of such transfer
together with appropriate assignment and transfer documents signed by the applicable Beneficiary.

3.3 Beneficiary Information. The Liquidating Trustee may rely upon information
relating to each Beneficiary as it appears in the books and records of the Liquidating Trust upon
the Distribution Record Date. As of the close of business on the date the Confirmation Order is
entered there shall be no further changes in the record Holders of Equity Interests. The Liquidating
Trustee shall have no obligation to recognize any transfer of any such Interests occurring after the
close of business on the Distribution Record Date, and shall instead be entitled to recognize and
deal for all purposes with only those Holders of record as of the close of business on the
Distribution Record Date.

3.4 Certification of Interests. The Liquidating Trustee shall not be required to issue
certificates or other instruments representing or evidencing the interests of the Beneficiaries in the
Liquidating Trust, but nothing contained herein shall prohibit him from doing so.

ARTICLE IV DURATION OF ASSETS

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4.1 Duration. The Liquidating Trust shall remain in existence and continue in full
force and effect until all of the following shall have occurred: (a) the entirety of the Assets have
been reduced to cash or the Liquidating Trustee has determined that it is impractical or not in the
best interest of the Beneficiaries of the Liquidating Trust to do so; (b) all costs, expenses and
obligations incurred in administering the Liquidating Trust have been paid and discharged; (c) the
Assets have been distributed to the Beneficiaries in accordance with the Plan; and (d) a final
report has been filed and a final decree closing the Bankruptcy Case has been entered; provided,
however, subject to the immediately succeeding sentence, the Liquidating Trust shall not remain
in existence more than five years from the date of this Agreement. If warranted by the facts and
circumstances provided for in the Plan, and subject to the approval of the Bankruptcy Court of a
motion of the Liquidating Trustee seeking an extension of the term of the Liquidating Trust as
necessary to the purpose of the Liquidating Trust, then the term of the Liquidating Trust may be
extended for a finite term based on the particular circumstances. The Bankruptcy Court must
approve each extension within six months of the beginning of the extended term with notice
thereof to all Liquidating Trust Beneficiaries. Notwithstanding the foregoing, the Liquidating
Trust shall in no event remain in existence for more than twenty-one years from the date of this
Agreement.

ARTICLE V ADMINISTRATION OF LIQUIDATING TRUST ESTATE

5.1 Right and Powers. The Liquidating Trustee shall have all rights and powers of a
trustee under section 1106 and 704 of the Bankruptcy Code and, in accordance with section
1123(b) of the Bankruptcy Code, and as set forth in the Plan, and shall be designated and serve as
the sole representative of the Debtor’s Estate. Subject to the terms of the Plan and this Agreement,
the Liquidating Trustee may, at such times and in such manner as he may deem appropriate,

transfer, assign, or otherwise dispose of all or any part of the Assets.

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5.2 Payment of Interest to Beneficiaries. The Liquidating Trustee shall hold the
Assets without provision for or the payment of interest to any Beneficiary except to the extent
provided for under the Plan.

5.3 Payment of Claims, Expenses, and Liabilities and the Reserve Amounts.
The Liquidating Trustee shall pay from the Assets all claims, expenses, charges, liabilities,
and obligations of the Liquidating Trust, whether civil or otherwise, and all liabilities and
obligations which the Liquidating Trustee, on behalf of the Liquidating Trust, has specifically
assumed and agreed to pay pursuant to the terms of this Agreement, including any post-
confirmation claims arising from the administration of the Liquidating Trust, together with such
transferee liabilities which the Liquidating Trust may be obligated to pay as transferee of the
Assets, including among the foregoing, and without limiting the generality of the foregoing,
interest, taxes, assessments, and public charges of every kind and nature and the costs, charges,
and expenses connected with or growing out of the execution or administration of this
Liquidating Trust and such other payments and disbursements as are provided in this Agreement
or which may be determined to be a proper charge against the Assets by the Liquidating
Trustee or by any court of competent jurisdiction. In addition, the Liquidating Trustee may,
pursuant to the terms of the Plan, make provision or reserve out of the Assets to meet present or
future claims, expenses and liabilities of the Liquidating Trust, whether fixed or contingent, known
or unknown.

5.4 Federal Income Tax Information. By the annual tax return filing due date
including extension, if applicable, the Liquidating Trustee shall mail to each Beneficiary of record
during such year, a statement showing information sufficient for each Beneficiary to determine its
share of income, gain, loss, deductions and credits for federal income tax purposes in accordance

with §§1.671-4(a) and 1.671-4(b)(3) of the United States Treasury Regulations. The Liquidating

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Trustee shall not be required to report such tax information to any Beneficiary unless such
Beneficiary provides to the Liquidating Trustee a complete form W-9 or acceptable substitute
signed under penalty of perjury. In determining each Beneficiary’s share of income, gain, loss,
deductions and credits, the Liquidating Trustee shall not allocate such items to any Beneficiary
who is the Holder of an Equity Interest, which has no value until such time, if at all, as a value of
the Equity Interest arises. For this purpose, an Equity Interest shall have no value for any taxable
year in which the Beneficiary who is the holder of the Equity Interest would receive no distribution
from the Liquidating Trust if the Liquidating Trust terminated and distributed all of its assets on
the last day of the taxable year.

5.5 Required Filing. The Liquidating Trustee shall prepare and file with appropriate
state and federal agencies and authorities, all such documents, forms, reports and returns (including,
but not limited to, state and federal income tax returns and Forms 1099) as the Liquidating Trustee
shall, with the advice and assistance of his post-confirmation professionals, including but not
limited to legal counsel and accountants, deem necessary, required or appropriate in connection
with the creation, existence, operation or termination of the Trust. The Liquidating Trustee shall
file returns for the Liquidating Trust as a grantor trust pursuant to Treas. Reg. §§ 1.671-4(a) and
1.671-4(b)(3)(ii).

5.6 Tax Attributes and Tax Characteristics of the Trust. The Beneficiaries of the

 

Liquidating Trust shall be treated as its grantors and deemed owners. The Liquidating Trustee shall
file or cause to be filed tax returns for the Liquidating Trust as a grantor trust pursuant to Treas.
Reg. § 1.671-4(a), or (b), as appropriate. Accordingly, the taxable income or loss of the
Liquidating Trust, including taxable income attributable to any reserves, if any, will be allocated to
the Beneficiaries on an annual basis, pro rata or as otherwise in accordance with their respective

entitlement to receive distributions from the Liquidating Trust if the Liquidating Trust terminated

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and distributed all its assets on the last day of the taxable year (taking into account all prior and
concurrent distributions from the Liquidating Trust during such taxable year), subject to the terms
herein, and the Beneficiaries shall be responsible to report and pay the taxes due on their
proportionate share of the Liquidating Trust taxable income, whether or not any amounts are
actually distributed by the Liquidating Trustee to the Beneficiaries. The value of the Assets
transferred into the Liquidating Trust shall be the fair market value of such Assets at the time of
such transfer, as reasonably determined by the Liquidating Trustee, in consultation with the
Trustee and such advisors as the Liquidating Trustee deems appropriate, within a reasonable period
of time after the Effective Date. Such valuation shall be binding on all parties including, but not
limited to, the Debtor, the Debtor’s Estate, the Trustee, the Liquidating Trustee, and all
Beneficiaries, and these valuations will be used by such parties for all federal income tax purposes.

5.7 Revenue Ruling Requests. The Liquidating Trustee on behalf of Beneficiaries
may, but shall not be required to, file a ruling request (in accordance with the procedures set
forth in Revenue Procedure 94-45, 1994-2 C.B. 684) with the Internal Revenue Service to
have the Liquidating Trust classified as a liquidating trust as described in Treas. Reg. §301.7701-
A(d).

5.8 Necessary Documents. On the Effective Date, the Liquidating Trustee shall
execute and deliver all documents reasonably required by the Liquidating Trustee including the
endorsement of any instruments, all business records of the Debtor, and authorizations to permit
the Liquidating Trustee to access all bank records, tax returns, and other files and records of the
Debtor, including files held by the Liquidating Trustee’s professionals, the Debtor’s Estate or the
Liquidating Trustee as necessary for the administration of the Liquidating Trust. The Liquidating
Trustee’s professionals shall provide the Liquidating Trustee any and all documents or information

reasonably requested by Liquidating Trustee for the administration of the Liquidating Trust.

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5.9 Privileges Transferred to Liquidating Trustee. The Liquidating Trustee, as set

forth in the Plan, shall control all applicable legal privileges of the Debtor and its Estate, including
control over all work product and attorney-client privilege for matters arising from or relating to
transactions or activity occurring, in whole or in part, prior to the Effective Date.

5.10 Disposition of Interests_and Litigation Claims. Subject to the terms of this
section, the Liquidating Trustee shall have the authority to initiate, prosecute, settle, resolve,
dismiss, object to, reconcile or otherwise dispose of any Interest, Administrative Expense
Claim, or Litigation Claims (collectively, the “Claims/Litigation Claims Resolution”), subject to
notice to the Beneficiaries or to such lesser list of parties ordered by the Bankruptcy Court. All
settlements shall be guided by the principles of the settlement standards set forth by Bankruptcy
Rule 9019 and the legal standards for settlement set forth in the Eleventh Circuit for such
settlements, including Jn Re Justice Oaks II, Ltd., 898 F.2d 1544, 1549 (11th Cir. 1990), cert
den., 498 U.S. 959, 1126 L.Ed. 398, 111 S.Ct. 389 (1990), or such other prevailing, binding law.

5.11 Standing. Subject to Sections 5.10 and 5.13 of this Agreement and Section 5.1 of
the Plan, the Liquidating Trustee shall have the sole standing and authority to file objections to
Administrative Expense Claims, Interests, or prosecute, settle, liquidate, dispose of, and/or
abandon Litigation Claims, and to defend against any and all counterclaims asserted in connection
therewith.

5.12 Qualified Settlement Fund; Disputed Ownership Fund. Notwithstanding anything
in this Agreement to the contrary, in the event that (i) any portion of the Liquidating Trust is treated
as a “qualified settlement fund” pursuant to Treas. Reg. § 1.468B-1, or (ii) the Liquidating Trustee
timely elects to treat any portion of the Liquidating Trust subject to Disputed Claim or Disputed
Equity Interests as a “disputed ownership fund” pursuant to Treas. Reg. § 1.468B- 9(c)(2)(ii),

any federal income tax consequences shall be determined under IRC § 468B and the Treasury

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Regulations thereunder.

ARTICLE VI_ DISTRIBUTIONS TO BENEFICIARIES
6.1 Distribution of the Liquidating Trust Assets. The Liquidating Trustee shall make

an initial distribution (the “Initial Distribution”) as soon as practicable after the Effective Date.
The Liquidating Trustee shall, in his sole discretion, make further Distributions to the Liquidating
Trust Beneficiaries of all Cash on hand in accordance with the terms of the Liquidating Trust
Agreement and the priorities set forth in this Plan (including any Cash received from the Debtor
on the Effective Date) except such amounts (i) as are retained by the Liquidating Trust on account
of Disputed Claims/Equity Interests, (ii) as are reasonably necessary to meet contingent liabilities
and to maintain the value of the Liquidating Trust Assets during liquidation, (iii) as are necessary
to pay reasonably incurred and anticipated fees and expenses (including any taxes imposed on the
Liquidating Trust or in respect of the Liquidating Trust Assets) of the Liquidating Trust and the
Liquidating Trustee, and (iv) as are necessary to satisfy other liabilities incurred and anticipated
by the Liquidating Trust or imposed on the Liquidating Trust in accordance with this Plan or the
applicable Liquidating Trust Agreement.

6.2 Assets Retained _on Account of Disputed Claims/Equity Interests. After the
Effective Date, the Liquidating Trust Assets shall include sufficient funds to pay in full any
Disputed Claims, and such funds will constitute the Disputed Claims Fund, which will be held
for the benefit of the Holder of the Disputed Claims. When the claims are resolved, the Allowed
Claim, if any, shall be paid from the Disputed Claims Fund pursuant to the terms of the Plan.

6.3 No Distributions Pending Allowance. Notwithstanding any other provision in the
Plan, if any portion of a Claim is disputed, no payment or distribution provided under the Plan
shall be made on account of such Claim unless and until such Disputed Claim becomes an

Allowed Claim.

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6.4 Distributions After Allowance. To the extent that a Disputed Claim ultimately
becomes an Allowed Claim, distributions shall be made to the Allowed Claim Holder in
accordance with the provisions of the Plan. Upon allowance, an Allowed Claim Holder shall
receive any Distributions that would have been made up to the date of allowance to such Allowed
Claim Holder under the Plan had the Disputed Claim been allowed on the Effective Date plus any
actual earnings on such distribution from the date that such distribution would have been made had
the Disputed Claim been allowed on the Effective Date through the date of allowance.

6.5 Tax Identification Numbers. The Liquidating Trustee may require any Beneficiary
with an Allowed Claim entitled to a Distribution under the Plan to furnish its, his or her employer
or taxpayer identification number (the “TIN”) assigned by the Internal Revenue Service. Any
Distribution under the Plan may be conditioned on the receipt of such TIN. If any such Holder of
an Allowed Claim entitled to a Distribution hereunder fails to provide a requested TIN within
forty-five (45) days after the request thereof, then such failure shall be deemed to be a waiver of
such Holder’s interest in any future Distributions, including the right to receive any future

Distributions.

ARTICLE VII
POWERS OF AND LIMITATIONS ON THE LIQUIDATING TRUSTEE

7.1 Limitations on Liquidating Trustee. The Liquidating Trustee shall not do any act or
undertake any activity unless he determines, in good faith, that such act or activity is desirable,
necessary, or appropriate for the management, conservation, and protection of the Liquidating
Trust Assets and is in compliance with this Trust Agreement and the Plan. The investment powers
of the Liquidating Trustee are limited to the powers to invest temporarily cash portions of the
Estate in demand and time deposits in banks or savings institutions, temporary investment such as
short-term certificates of deposit, investments in United States Treasuries, or money market funds.

The Liquidating Trustee shall be restricted to the holding, liquidation, and collection of Liquidating
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Trust Assets and the payment and distribution thereof for the purposes set forth in the Plan, and to
the conservation and protection of the Liquidating Trust and the Liquidating Trust Assets, and
administration thereof in accordance with the provisions of this Trust Agreement and the Plan.

7.2 Specific Powers of Liquidating Trustee. Subject to the provisions of the preceding
paragraph, the Plan and this Agreement, the Liquidating Trustee shall have the following
specific powers in addition to any powers granted by 11 U.S.C. §§ 1106 and 704 or conferred
upon him by any other provision of this Agreement or the Plan; provided, however, that
enumeration of the following powers shall not be considered in any way to limit or control the
power of the Liquidating Trustee to act as specifically authorized by any other provisions of this
Agreement or the Plan, and to act in such manner as the Liquidating Trustee may deem necessary
or appropriate to discharge all obligations of or assumed by the Liquidating Trustee or provided
herein or in the Plan and to conserve and protect the Liquidating Trust and the Liquidating Trust
Assets or to confer on the Beneficiaries the benefits intended to be conferred upon them by this
Agreement or the Plan, at all times subject to the terms of this Agreement and the Plan:

(a) To determine when or on what terms Assets should be sold, liquidated or otherwise
disposed of;

(b) To collect and receive any and all money and other Assets of whatsoever kind or
nature due to or owing or belonging to the Liquidating Trust;

(c) Pending sale or other disposition or distribution, to retain all or any Assets regardless
of whether or not such Assets are, or may become, unproductive or a wasting asset. The
Liquidating Trustee shall not be under any duty to reinvest such part of the Liquidating
Trust as may be in Cash, or as may be converted into Cash; nor shall the Liquidating
Trustee be chargeable with interest thereon except to the extent that interest may be paid
to the Liquidating Trust on such Cash amounts;

(d) To retain and set aside such funds out of the Assets as the Liquidating Trustee shall
deem necessary or expedient to pay, or provide for the payment of (i) Allowed Claims
pursuant to the Plan; and (11) any Reserve amounts;

(e) Subject to section 5.10 of this Trust Agreement, to do and perform any acts or things
necessary or appropriate for the management, conservation and protection of the
Liquidating Trust, including acts or things necessary or appropriate to maintain

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Liquidating Trust Assets pending sale or other disposition thereof or distribution thereof to
the Beneficiaries, and in connection therewith to employ such agents, including post-
confirmation professionals as provided for in this Agreement or the Plan, and to confer
upon them such authority as the Liquidating Trustee may deem expedient, and to pay fees
and expenses therefor;

(f) To cause any investment of the Liquidating Trust to be registered and held in the
name of the Liquidating Trustee or in the names of a nominee or nominees, or in the
names of a nominee or nominees of another entity, without increase or decrease of liability
with respect thereto;

(g) Subject to the terms of this Agreement, to prepare, file, assert, commence and
prosecute, or continue to prosecute in the case of existing actions, any and all Litigation
Claims, as the Liquidating Trustee may determine to be of value and benefit to the
Liquidating Trust and the Beneficiaries;

(h) Subject to the terms of this Agreement, to institute or defend actions or declaratory
judgments, to substitute the Liquidating Trustee for the Debtor or the Debtor’s Estate as
the real party in interest in pending litigation, and to take such other action, in the name of
the Liquidating Trust if required, as the Liquidating Trustee may deem necessary or
desirable to enforce any instruments, contracts, agreements, or causes of action relating to
or forming a part of the Liquidating Trust;

(i) Subject to the terms of this Agreement, to cancel, terminate, or amend any
instruments, contracts or agreements relating to or forming a part of the Liquidating Trust
to the full extent permitted by such instruments, contracts or agreements and to execute
new instruments, contracts, or agreements;

G) To perform any act authorized, permitted, or required under any instrument,
contract, agreement, or cause of action relating to or forming a part of the Liquidating
Trust whether in the nature of an approval, consent, demand, or notice thereunder or
otherwise;

(k) Subject to the terms of this Agreement, to deal in and with all accounts receivable,
promissory notes and contracts which form a part of the Liquidating Trust Assets with full
authority to compromise, settle and otherwise deal in and with such Liquidating Trust
Assets as the Liquidating Trustee shall deem appropriate, in his sole discretion and
without further order of the Bankruptcy Court;

(1) To take all actions for and on behalf of the Debtor and the Debtor’s Estate, including
but not limited to, the preparation, execution and filing of documents, as the Liquidating
Trustee shall deem necessary, desirable or appropriate in order to complete, conclude and
finalize any filing, reporting or other obligations which the Debtor, the Debtor’s Estate,
the Liquidating Trustee, or the Liquidating Trust may have to any state or federal
governmental authority, including the Liquidating Trustee’s required completion and
filing of all of the Debtor’s final or otherwise required federal, state, and local tax returns,
which shall be done by the Liquidating Trustee;

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(m) Subject to the terms of this Agreement, to enter into such consulting or employment
arrangements or otherwise retain such accountants, agents, attorneys, consultants or
independent contractors as the Liquidating Trustee shall deem necessary, desirable and
appropriate to enable the Liquidating Trustee to accomplish the purposes enumerated in
this Agreement and the Plan;

(n) To make the distributions provided for in this Agreement or the Plan;

(0) Subject to the terms of this Agreement, to have control and management of the
Liquidating Trust;

(p) To make the election described in Treas. Reg. § 1.468B-9(c)(2)(ii) to treat any
portion of the Liquidating Trust subject to Disputed Claims as a “disputed ownership
fund” for federal income tax purposes;

(q) To establish one or more “qualified settlement funds” within the meaning of IRC
§ 468B and the Treasury Regulations thereunder for any interests for which a

“qualified settlement fund” is required or permitted by law;

(r) To request any appropriate tax determination, including, without limitation, a
determination pursuant to Section 505 of the Bankruptcy Code;

(s) To destroy any records of the Debtor as authorized by the Bankruptcy Court
(including, without limitation, the client files) and to request authority to destroy any
records of the Debtor not previously authorized by the Bankruptcy Court; and

(t) To take any action reasonably necessary to effectuate the wind down and

dissolution of the Debtor in all respects without further corporate action under applicable

law, regulation, order or rule required.

7.3 Preservation, Prosecution, and Defense of Causes of Action. Subject to the
terms of this Agreement, the Liquidating Trustee shall have the right to pursue any and all
Litigation Claims of the Debtor or the Debtor’s Estate, whether or not such causes of action had
been commenced as of the Effective Date, and shall be substituted as a real party in interest in any
actions commenced by or against the Debtor or the Debtor’s Estate. Also subject the terms of this
Trust Agreement, the Liquidating Trustee shall be authorized at any point in any litigation (a)
without Bankruptcy Court approval, to enter such settlements as the Liquidating Trustee deems to

be in the best interest of the Beneficiaries, or (b) to abandon, dismiss, and/or decide not to

prosecute any such litigation if the Liquidating Trustee deems such action to be in the best interest

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of the Beneficiaries provided, however, that any such proposed settlement or other action described
in subparts “(a)” and “(b)” of this section that (i) exceeds $1,000,000 with respect to Liquidating
Trust Assets; (ii) involves a Liquidating Trust Asset that has an alleged claim amount exceeding
$1,000,000; or (iii) involves a professional claim shall be subject to approval by the Bankruptcy
Court, upon notice and opportunity for hearing in accordance with Bankruptcy Rule 9019.

7.4 Indemnification of Liquidating Trustee. The Liquidating Trust shall indemnify and
hold harmless the Liquidating Trustee, his respective employees and respective actuaries, agents,
attorneys, consultants, designees, directors, employees, financial advisors, investment bankers,
managers, members, officers, professionals, partners, and shareholders (collectively, all of the
above are the “Liquidating Trust Protected Parties”) from and against and in respect of all
liabilities, losses, damages, claims, costs, and expenses, which such Liquidating Trust Protected
Parties may incur or to which such Liquidating Trust Protected Parties may become subject to in
connection with any action, suit, proceeding, demand, claim, or investigation brought by or
threatened against such Liquidating Trust Protected Parties arising out of or due to their acts or
omissions or any consequences of such acts or omissions, with respect to the implementation or
administration of the Liquidating Trust, the Plan, or the discharge of their duties hereunder or
otherwise related to the Liquidating Trust or the Liquidating Trustee (“Related Matters”)
provided, however, that no such indemnification will be provided to any such Liquidating Trust
Protected Party for actions or omissions finally and judicially determined to have arisen solely and
directly from such Liquidating Trust Protected Party’s willful misconduct, gross negligence, or
actual fraud. In the sole discretion of the Liquidating Trustee, the Liquidating Trustee may
authorize available Cash of the Assets, including but not limited to the Cash in the Sale Proceeds
Reserve, to be advanced to satisfy any documented out-of- pocket costs and expenses (including

attorneys’ fees and other costs of defense) incurred by any Liquidating Trust Protected Party

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who is threatened to be named or made a defendant or a respondent, or is served with formal
or informal discovery, in connection with any proceeding, claim, investigation, or demand,
concerning the administration, business, and affairs of the Liquidating Trust; provided,
however, that all such payments are subject to disgorgement in the event the expenses relate
solely to an underlying claim against the Liquidating Trust Protected Party which has been
finally and judicially determined to have resulted solely and directly from the Liquidating Trust
Protected Party’s own willful misconduct, gross negligence, or actual fraud. In the event that, at
any time whether before or after termination of this Trust Agreement, as a result of or in
connection with this Trust Agreement, any Liquidating Trust Protected Party is required to
produce any of its personnel (including former employees) for examination, deposition or other
written, recorded or oral presentation, or any Liquidating Trust Protected Party is required to
produce or otherwise review, compile, submit, duplicate, search for, organize or report on any
material within such Liquidating Trust Protected Party’s possession or control pursuant to a
subpoena or other legal (including administrative) process, the Liquidating Trust Protected Party
shall be reimbursed by the Liquidating Trust for its out of pocket expenses, including the fees and
expenses of its counsel, and will be compensated by the Liquidating Trust for the time expended
by its personnel based on such personnel’s then current standard hourly rate. Any claim of the
Liquidating Trustee and the other parties entitled to be indemnified, held harmless, or reimbursed
shall be satisfied solely from the Liquidating Trust Assets, including but not limited to the Sale
Proceeds Reserve, or any applicable insurance coverage.

7.5 Liability of Liquidating Trust Protected Parties. No Liquidating Trust
Protected Party shall have any liability to any party for any Related Matters, unless it shall be
proven that such liability arose solely and directly from the gross negligence, willful misconduct

or actual fraud of such Liquidating Trust Protected Party. None of the Liquidating Trust Protected

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Parties shall be deemed to make any representations or warranties as to the value or condition of
the Trust Assets or any part thereof, or as to the validity, execution, enforceability, legality, or
sufficiency of this Agreement or the Plan, and none of the Liquidating Trust Protected Parties
shall incur any liability or responsibility to any party in respect of such matters.
ARTICLE VIII CONCERNING THE LIQUIDATING TRUSTEE

8.1 Generally. The Liquidating Trustee accepts and undertakes to discharge the trust
created by this Agreement upon the terms and conditions hereof and of the Plan. In performing
his duties hereunder, the Liquidating Trustee may rely on information reasonably believed by him
to be accurate and reliable.

8.2 Reliance by Liquidating Trustee. Except as otherwise provided in Sections 7.1 or
8.1: (a) the Liquidating Trustee may rely and shall be protected in acting upon any resolution,
certificate, statement, instrument, opinion, report, notice, request, consent, order, or other paper or
document believed by him to be genuine and to have been signed or presented by the proper party
or parties; and (ii) the Liquidating Trustee may consult with and retain legal counsel and
other professionals to be selected by him, and the Liquidating Trustee shall not be liable for any
actions taken or suffered by him in accordance with the advice of such counsel, and may also
consult with former counsel, former accountants, and former consultants or advisors of the
Debtor or present and former officers, directors and consultants of the Debtor. The fees of such
legal counsel and other professionals for the Liquidating Trustee shall be paid from the Assets in
accordance with the Plan.

8.3 Counsel and Advisors for Liquidating Trustee. (a) The Professionals currently
employed by the Debtor are deemed to be employed by the Liquidating Trust, without further order
of the Bankruptcy Court. The Liquidating Trustee shall not be liable for any actions taken or

suffered by him in accordance with the advice of such Professionals, and may also consult with

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and retain current and former accountants, consultants or other professionals of the Debtor, the
Debtor’s Estate, present and former officers and directors of the Debtor, the Debtor’s Estate and
each of their respective affiliates or subsidiaries. The actual fees and expenses of post-
confirmation professionals retained by the Liquidating Trustee shall be paid from the Trust Assets
and in accordance with the Plan and the Confirmation Order.

Post-confirmation professionals retained by the Liquidating Trustee need not be
“disinterested” as that term is defined in the Bankruptcy Code and may include, without limitation,
the Liquidating Trustee’s firm (should the Liquidating Trustee be a part of a professional services
firm (the “LT Firm”)) and its affiliates, as well as counsel, employees, interim management,
financial advisors, independent contractors or agents of the Trustee or the LT Firm. The
Liquidating Trustee is hereby expressly authorized to utilize the services of the LT Firm, its
affiliates and personnel as post-confirmation professionals (rather than utilizing other similarly
situated or available personnel or professional services firms) notwithstanding that (a) the
Liquidating Trustee — benefit (directly or indirectly) from the compensation paid to the LT Firm,
and (b) other persons or entities may be available to provide the same or similar work at similar or
more competitive prices. In no event shall the Liquidating Trustee, the LT Firm or their affiliates
be subject to a claim of a conflict of interest or breach of fiduciary duty or any other claim arising
as a result of the appointment of any such person in accordance with this provision.

8.4 Liquidating Trust’s Funds. No provision of this Agreement or the Plan shall
require the Liquidating Trustee to expend or risk his own funds or otherwise incur any
financial liability in the performance of any of his duties as Liquidating Trustee hereunder,
under the Plan, or in the exercise of any of its rights or powers, if the Liquidating Trustee
shall have reasonable grounds for believing that repayment of funds or adequate indemnity or

security satisfactory to him against such risk or liability is not reasonably assured to him. For the

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avoidance of doubt, the Liquidating Trustee shall not be required to rely on the security,
reimbursement or indemnity of the LT Firm, its affiliates or their respective insurers in
determining whether the assurances described in the preceding sentence are available.

ARTICLE IX PERSONS DEALING WITH THE LIQUIDATING TRUSTEE

9.1 Liquidating Trustee Not Personally Liable. Persons dealing with the Liquidating
Trustee shall look only to the Assets to satisfy any liability incurred by the Liquidating Trustee to
such person in carrying out the terms of this Liquidating Trust or the Plan. Neither the Liquidating
Trust nor the Liquidating Trustee shall have any personal or individual obligation to satisfy any
such liability unless it is proven that the Liquidating Trustee breached his fiduciary duty, was
grossly negligent, acted with willful misconduct or fraud in ascertaining the pertinent facts or in
performing any of the rights, powers or duties herein or in the Plan.

9.2 Authority of Liquidating Trustee. Any person dealing with the Liquidating Trustee
shall be fully protected in relying upon the Liquidating Trustee’s certificate signed by the

Liquidating Trustee that such Liquidating Trustee has authority to take any action under this

Agreement.

ARTICLE X COMPENSATION

10.1 Compensation of Liquidating Trustee. The Liquidating Trustee shall be entitled to
compensation in connection with fulfilling his duties hereunder at customary hourly rate, plus
reasonable out of pocket expenses, to be paid monthly from the Liquidating Trust Assets. The
Liquidating Trustee shall not receive or be entitled to receive any other compensation on account
of the performance of his duties hereunder.

10.2 Payment of Costs/Expenses. All costs and expenses incurred by the Liquidating

Trust shall be the obligation of the Liquidating Trust and be payable from the Liquidating Trust

Assets of the Liquidating Trust in accordance with this Trust Agreement and the Plan.

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Compensation of the Liquidating Trustee shall be paid from the Trust Assets pursuant to the terms
of this Trust Agreement. Notwithstanding anything herein to the contrary, the Liquidating Trustee
shall be authorized pursuant to this Trust Agreement to pay the fees and expenses incurred after
the Effective Date by the Liquidating Trustee and his post-confirmation professionals from Trust
Assets without further order of the Bankruptcy Court. The Liquidating Trustee shall be authorized
pursuant to the terms of the Plan, the Liquidating Trust, and any other order of a court of
competent jurisdiction to pay the compensation due to the Liquidating Trustee.

ARTICLE XI
LIQUIDATING TRUSTEE AND SUCCESSOR LIQUIDATING TRUSTEE

11.1 Resignation and Removal. The Liquidating Trustee may (i) resign and be
discharged from the Liquidating Trust hereby created only by filing an appropriate motion in the
Bankruptcy Court setting forth the reason therefor and the entry of an order by the Bankruptcy
Court granting such motion; or (ii) be removed, upon proper motion, notice and a hearing,
including a motion of the Office of the United States Trustee or by the Bankruptcy Court on its
own order to show cause, for cause, including, but not limited to, under Section 324 of the
Bankruptcy Code, for the violation of any material provision of the Plan (including, without
limitation, by reason of providing intentionally false or misleading reports), or in the event the
Liquidating Trustee becomes incapable of acting as the Liquidating Trustee as a result of physical
or mental disability and such physical or mental disability continues for a period in excess of 30
days (except in the case of death, in which instance, the procedures for replacement will begin
immediately), and the Bankruptcy Court entering an order authorizing such removal. In the event
of a resignation or removal, the Liquidating Trustee, unless he is incapable of doing so, shall
continue to perform his or her duties hereunder until such a time as a successor is approved by a
Final Order of the Bankruptcy Court as provided below.

11.2 Appointment of Successor. Should the Liquidating Trustee resign or be removed,

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or die or become incapable of action, a vacancy shall be deemed to exist. In the event of such a
vacancy, the Liquidating Trust Beneficiaries shall have 90 days to select a successor Liquidating
Trustee by the filing of a motion with the Bankruptcy Court in connection therewith. If the
Liquidating Trust Beneficiaries do not so select a successor Liquidating Trustee, then the Office
of the United States Trustee may file a motion with the Bankruptcy Court seeking an order
directing the United States Trustee to select such successor. Notwithstanding Section 10.1 hereof,
the compensation, if any, of the successor Liquidating Trustee shall be (i) stated in the instrument
evidencing such successor Liquidating Trustee’s appointment and (ii) included in the motion filed
with the Bankruptcy Court.

11.3 Acceptance_of Appointment by Successor Liquidating Trustee. Each successor
Liquidating Trustee appointed hereunder shall execute an instrument accepting such appointment.
Thereupon such successor Liquidating Trustee shall, without any further act, become vested with
all the Estate’s properties, rights, powers, trusts, and duties as were held by his or her predecessor
in the Liquidating Trust hereunder, with like effect as if originally named in such instrument; but
the retiring Liquidating Trustee shall nevertheless, when requested in writing by the successor
Liquidating Trustee, execute and deliver any instrument or instruments conveying and transferring
to such successor Liquidating Trustee upon the Liquidating Trust herein expressed, all the Estate’s
properties, rights, powers, and trusts of such retiring Liquidating Trustee, and shall duly assign,
transfer, and deliver to such successor Liquidating Trustee all property and money held by him or
her hereunder, including the Assets. Notwithstanding the appointment of a successor Liquidating
Trustee, the retiring Liquidating Trustee shall, without limitation, continue to be entitled to the
indemnity provided herein for acts and omissions through the effective date of his resignation.

ARTICLE XII
CONCERNING THE BENEFICIARIES

12.1 Limitation on Suits by Beneficiaries. No Beneficiary shall have any right by virtue

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of any provision of this Agreement to institute any action or proceeding at law or in equity against
any party upon or under or with respect to the Assets.

12.2 Expenses in Connection with Litigation. In connection with any lawsuit or action
by or against the Liquidating Trustee regarding any rights, actions, or omissions under this Trust
Agreement or the Plan, the Liquidating Trustee may request any court to require, and any court
may in its discretion require, that a party to such action other than the Liquidating Trustee pay all
costs and fees associated with such action.

ARTICLE XII AMENDMENTS

13.1 Amendments. The Liquidating Trustee may make and execute such declarations
amending this Agreement for the purpose of adding any provisions to or changing in any
manner or eliminating any of the provisions of this Agreement or amendments hereto;
provided, however, that no such amendment shall permit the Liquidating Trustee to act in any
manner which is inconsistent with the Plan or engage in any activity prohibited by this
Agreement or affect the Beneficiaries’ rights to receive their share of any Distributions under this
Agreement or the Plan.

13.2 Notice and Effect of Amendment. Promptly after the execution by the Liquidating
Trustee of any declaration of amendment permitted by and pursuant to this Agreement, the
Liquidating Trustee shall give notice of the substance of such amendment to (a) all Beneficiaries
who request such amendment in writing, and (b) the Office of the United States Trustee. Upon
the execution of any such declaration of amendment by the Liquidating Trustee, this Agreement
shall be deemed to be modified and amended in accordance therewith and the respective rights,
limitations of rights, obligations, duties and immunities of the Liquidating Trustee and the
Beneficiaries under this Agreement shall thereafter be determined, exercised and enforced

hereunder subject in all respects to such modification and amendment, and all the terms and

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conditions of this Agreement for any and all purposes.

ARTICLE XIV MISCELLANEOUS PROVISIONS

14.1 Further Assurances. The Debtor and the Liquidating Trustee shall promptly
execute and deliver such further instruments and do such further acts as may be necessary or
proper to more effectively transfer to the Liquidating Trustee any portion of the Assets
intended to be conveyed pursuant to the Plan and this Agreement to otherwise carry out the
intentions of this Agreement and the Plan.

14.2 Invalid Acts. Any act or omission by the Liquidating Trustee in violation or
derogation of any term of this Agreement or otherwise of the Plan shall be void ab initio.

14.3 Retention of Jurisdiction. The Bankruptcy Court shall retain jurisdiction over this
Agreement and the Liquidating Trust established hereby as set forth in the Plan, including, without
limitation, the enforcement, modification and interpretation of its provisions, for the purpose of
determining all amendments, applications, claims or disputes with respect to this Agreement, the
substitution of the Liquidating Trustee, and all applications, claims and disputes related thereto.

14.4 Filing Documents. This Agreement shall be filed or recorded in such office or
offices as the Liquidating Trustee may determine to be necessary or desirable. A copy of this
Agreement and all amendments thereof shall be maintained in the office of the Liquidating Trustee
and shall be available during regular business hours for inspection by any Beneficiary or his, her, or
its duly authorized representative. The Liquidating Trustee shall file or record any amendment
of this Agreement in the same places where the original Agreement is filed or recorded. The
Liquidating Trustee shall file or record any instrument which relates to any change in the
office of the Liquidating Trustee in the same places where the original Agreement is filed or
recorded and shall maintain a copy of any such instrument in his, her or its office.

14.5 Intention of Parties to Establish Trust. This Agreement is not intended to create,

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and shall not be interpreted as creating, an association, partnership, or joint venture of any kind.

14.6 Laws as to Construction. This Agreement shall be governed and construed in
accordance with the laws of the State of Florida, without giving effect to the principles of conflicts
of law.

14.7 Severability. In the event any provision of this Agreement or the application
thereof to any person or circumstance shall be finally determined by a court of competent
jurisdiction to be invalid or unenforceable to any extent, the remainder of this Agreement, or the
application of such provision to persons or circumstances other than those as to which it is
held invalid or unenforceable, shall not be affected thereby, and each provision of this Agreement
shall be valid and enforced to the fullest extent permitted by law.

14.8 No Assignment. Except as otherwise provided herein, the obligations, duties, or
rights of the Liquidating Trustee under this Agreement shall not be assignable, voluntarily,
involuntarily, or by operation of law, and any such attempted assignment shall be void ab initio.

14.9 Calendar Year. The Trust will utilize the calendar year for tax and
financial accounting purposes.

14.10 Inconsistency with Plan. To the extent of any inconsistency: (i) the provisions of
this Agreement shall control over the provisions of the Disclosure Statement; (ii) the provisions of
the Plan shall control over the contents of this Agreement, and the Disclosure Statement; and (iii)
the provisions of the Confirmation Order shall control over the contents of the Plan.

14.11 Effectiveness. This Agreement shall become effective on the Effective Date.

14.12 Notices. Any notice or other communication hereunder shall be deemed to have
been sufficiently given, for all purposes, if given by being deposited, postage prepaid, in a post
office or letter box addressed to the Beneficiary at his, her or its address as shown on the records

of the Liquidating Trustee (in the case of notices to a Beneficiary) and addressed to the Liquidating

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Trustee, at the address set forth below (in the case of a notice to the Liquidating Trustee), except
that notice of change of address shall be effective only upon receipt thereof. Any notice given by
mail in accordance with this paragraph shall be deemed to be effective three days following its
deposit in the mail.

14.13 Confidentiality. The Liquidating Trustee and any respective successor (each a
“Covered Person”) shall, during the period that they serve in such capacity under this
Agreement and following either the termination of this Agreement or such individual’s
removal, incapacity, or resignation hereunder, hold strictly confidential and not use for personal
gain any material, nonpublic information of or pertaining to any entity to which any of the assets
of the Liquidating Trust relates or of which it has become aware in its capacity (the “Information”),
except to the extent disclosure is required by applicable law, order, regulation or legal process. In
the event that any Covered Person is requested or required (by oral questions, interrogatories,
requests for information or documents, subpoena, civil investigation, demand or similar legal
process) to disclose any Information, such Covered Person will furnish only that portion of the
Information, which the Covered Person, advised by counsel, is legally required and exercise all
reasonable efforts to obtain reliable assurance that confidential treatment will be accorded the
Information.

14.14 Counterparts.This Agreement may be executed in any number of counterparts,
each of which shall be deemed an original, but all of which shall together constitute one and the

same instrument.

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IN WITNESS WHEREOF, the parties have caused this Agreement to be signed and

acknowledged as of the date set forth in the opening paragraph hereof.

 

MANAGER of 160 Royal Palm, LLC

Cary Glickstein

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Date

 

 

 

LIQUIDATING TRUSTEE

Cary Glickstein,

 

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Date

 

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